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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
                                 CAMDEN VICINAGE


  IN RE: VALSARTAN, LOSARTAN, AND
  IRBESARTAN PRODUCTS LIABILITY                     No. 1:19-md-2875-RBK-KMW
  LITIGATION
                                                       Hon. Robert B. Kugler
  This document relates to:                           Hon. Karen M. Williams
  All Actions                                         Hon. Thomas I. Vanaskie


  PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO ZHP’S MOTION FOR
   A PROTECTIVE ORDER PRECLUDING THE DEPOSITION OF BAOHUA CHEN
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                                          INTRODUCTION

         ZHP’s motion for a protective order misconstrues the factual record and the law. This

  Court has already ordered Baohua Chen’s deposition because Plaintiffs have established his direct

  and unique and personal role in the matters at issue in this litigation, including as the linchpin of

  the ZHP Organization and its development, manufacture, sale, and recall of its contaminated

  valsartan. (ECF 704). Subsequent discovery has only further buttressed Plaintiffs’ need for Mr.

  Chen’s deposition.

         When it ordered his deposition, the Court granted ZHP leave to file a motion for a

  protective order to quash the deposition based on a “sufficient deposition record.” Id. At the

  hearing immediately preceding that order, the Court explicitly stated, “It's his [(ZHP’s

  counsel’s)] motion for protective order, so it's his burden, of course.” (12/22/2020 Tr. 48:1-

  2). Thereafter, ZHP only asked one deponent about Mr. Chen, and that was not Jun Du, the witness

  who ZHP curiously foreshadowed would be the key to the motion. Moreover, ZHP’s witnesses

  were often unable or unwilling to answer questions about Mr. Chen during their depositions.

         Instead of shouldering its burden, ZHP misconstrues the law to attempt to improperly shift

  the burden of proof and rely on an exaggerated “presumption” against deposing “apex witnesses,”

  which clearly does not apply on the record here. Rather than establishing a record to support this

  motion, ZHP did virtually nothing to elicit testimony relevant to this issue, and instead now argues

  that Plaintiffs should have obtained testimony to support the need for the deposition. But ZHP’s

  failing in this regard cannot be foisted on Plaintiffs, who were not required to exhaust every

  possible question that might be asked of Baohua Chen, in questioning other witnesses. That is not

  the standard, especially where Plaintiffs already proved the right to conduct the deposition.

  Accordingly, without even acknowledging its burden on this motion, ZHP clearly fails to satisfy

  the requisite standard.

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         The record is abundantly clear that the Court’s initial finding, based on a robust record,

  that Mr. Chen has unique personal knowledge about ZHP’s development, manufacture, sale, and

  recall of its contaminated valsartan, was correct. Therefore, the Court should deny ZHP’s motion.

                     BAOHUA CHEN IS THE LINCHPIN OF
          THE ZHP ORGANIZATION AND ITS CONTAMINATED VALSARTAN

         ZHP’s motion fails to contend with the record establishing Baohua Chen’s central role in

  the ZHP organization as well as the development, manufacture, sale, and recall of its contaminated

  valsartan. According to an organization chart provided by ZHP to Delloitte Tax LLP in October

  2019, Baohua Chen is the CEO of ZHP and Shanghai Syncores (ZHP’s wholly-owned research

  entity that developed the ill-fated zinc chloride process for the manufacture of valsartan in 2011).

  (ZHP00076700, Ex. A hereto; ZHP00076708, Ex. B hereto). The organization chart also states

  that “[a]ll the VP or directors are reported to Baohua Cheng [d]irectly,” and shows that Mr. Chen

  is the linchpin between ZHP, Shanghai Syncores, Prinbury, Huahai US, Prinston, and Solco.

  (ZHP00076709, Ex. B hereto).

         Mr. Chen is not just a figurehead, he has direct technical knowledge and training.

  According to ZHP’s Drug Master File (DMF) for valsartan,




                                          (ZHP01662344, Ex. C hereto; see also ZHP01633850, Ex.

  D hereto; ZHP01458548, Ex. E hereto). Mr. Chen has a Master of Science in Chemical

  Engineering. (ZHP00004937, Ex. F hereto). ZHP’s valsartan DMF also states,




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  (ZHP01662359, Ex. C hereto). As already mentioned, all vice presidents or directors report to Mr.

  Chen directly; thus, as the “General Manager,” he effectively leads all of ZHP’s departments

  and is responsible for coordinating and synthesizing their disparate activities. He managed

  3,800 employees as of May 2014. (ZHP00004937, Ex. F hereto).

         During FDA inspections, Mr. Chen directly told the FDA that he “has the ultimate authority

  at the firm and takes full responsibility for the company’s operations.” (PRINSTON00083647,

  Ex. G hereto). Not surprisingly, Mr. Chen participated in at least seven FDA inspections, in

  August 2013, May 2014, March 2015, November 2016, June 2017, January 2018, and June 2019.

  At the August 2013 inspection, the Vice General Manager of Quality Assurance said that he

  reported directly to Mr. Chen. (PRINSTONO0083002, Ex. H hereto). After that inspection, Mr.

  Chen “promised to correct/evaluate all discussion items and to expand the corrections to any

  related issues.” (PRINSTON00083010, Ex. H hereto). The March 2015 inspection reports

  identified Baohua Chen as the “most responsible person.” (PRINSTON00083028, 31, Ex. I

  hereto). The May 2014, November 2016, and January 2018 inspection reports state that all FDA

  correspondence should be addressed to Mr. Chen.          (PRINSTON00074128, Ex. J hereto;

  PRINSTON00081551, Ex. K hereto; PRINSTON00081574, Ex. L hereto). The record is clear

  that Mr. Chen played a central role at ZHP and that he communicated directly with the FDA.




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             Consistent with this strategy spearheaded by Mr. Chen, ZHP has told the FDA that it

  changed to the contaminating manufacturing process in order lower the cost of its valsartan and

  dominate the world market as a result. (PRINSTON00162373, Ex. U hereto). Plaintiffs believe

  that Mr. Chen likely knew about the NDMA contamination that was discovered prior to July

  2017, and made or authorized the decision to keep this hidden so that ZHP’s revenue stream

  would not be disrupted, and if he did not, he needs to testify to how that happened and the

  ramifications. In any event, he is the person to explain the failure to disclose the NDMA

  contamination.

         Mr. Chen was also intimately involved with ZHP’s recall of Valsartan. ZHP’s “Protocol

  of Valsartan API Recall (Foreign grade)” lists Mr. Chen as the first member of the “Recall Group,”

  and that group does not include Jun Du, who is the CEO of all three of ZHP’s U.S. subsidiaries,

  which are all based in New Jersey. (ZHP00494048, Ex. V hereto).




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          Despite its representations to the contrary, ZHP’s witnesses have confirmed the above

  narrative without being able to fill in the gaps that only Baohua Chen could. For example, ZHP

  has repeatedly claimed that Jun Du could provide the same information as Baohua Chen. (See,

  i.e., 5/03/2021 Tr. 43:18-22). ZHP even asked for an extension to file its motion in order to include

  his testimony and ultimately filed a supplemental brief on this basis. (Id. at 43:7-12). Yet, Jun

  Du’s deposition only supports Plaintiffs’ need for the deposition of Mr. Chen.




          As stated, the deposition of Jun Du only strengthened the need for the deposition of Mr.

  Chen.




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                                                                        This testimony eviscerates

  the prior suggestions that Jun Du is some all-knowing witness.




         ZHP also claims that the deposition of Min Li, its Vice President of Analytical Operations,

  obviates the need for Baohua Chen’s deposition. (ZHP’s Br. 8). This argument is unsupported by

  the testimony, which strongly points to the need for the deposition of Mr. Chen.




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                                                                      The compelling information

  learned during the deposition of Min Li is an overlay definitively refuting ZHP’s consistent and

  deliberate understatement of Mr. Chen’s involvement in relevant corporate activities.



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                                                              As already shown, Mr. Chen has a

  Master of Science in Chemical Engineering. (ZHP00004937, Ex. F hereto).



        ZHP also relies on the testimony of Jucai Ge, its Director of API Quality Assurance at the

  Chuannan Site.




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        ZHP also continues to mischaracterize the import of Hong (Eric) Gu’s deposition.




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                                                       This is just another example of a document

  showing that Mr. Chen is and has been an important part of the valsartan story.

         According to ZHP, “although Plaintiffs claim that Mr. Chen is needed to testify to the

  relationship between the ZHP Parties, communications with the FDA, the product recall, and the

  pricing of ZHP’s valsartan finished dose, Plaintiffs have already questioned a witness more

  knowledgeable on these topics.” (ZHP’s Br. 5-6). This argument is obvious evasion. Mr. Chen’s

  unique position within the ZHP Organization, where everyone reports to him and no one else,

  requires Plaintiffs to take his deposition.




                                                                                The Facebook page

  of PrinJohnson, an intermediate holding company between Huahai US and Prinston, which in turn

  owns Solco, further actually focuses on Mr. Chen’s involvement in these operations:




  (PrinJohnson’s Facebook Page).
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  (PrinJohnson’s Facebook Page).



                                                     Once again, all major decisions point to Mr.

  Chen, whether they are communications with the FDA, the product recall, or the pricing of ZHP’s

  valsartan.

         Peng Dong’s evasive testimony regarding Mr. Chen also shows that Mr. Chen was

  substantively involved:




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                                                                    Thus, Peng Dong’s deposition

  further supports Plaintiffs’ need for Mr. Chen’s deposition.

         Inexplicably, ZHP relies on the following testimony from Qiangming Li in support of its

  motion:




         ZHP also relies on a conclusory and self-serving declaration from ZHP Director of

  Regulatory Affairs Lihong (Linda) Lin in support of its motion. (ZHP’s Br. 10-11).

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                            However, ZHP overlooks Mr. Chen’s active role as Ms. Lin’s supervisor

  and the primary point of contact for many FDA inspections and FDA communications, as

  discussed above.




                                                                          As already explained, this

  misconstrues Plaintiffs’ argument that Baohua Chen is the linchpin of the ZHP Organization

  leading all of its departments and playing an active role in its subsidiaries, especially Shanghai

  Syncores, where he is CEO. Plaintiffs do not need to depose Baohua Chen to understand how

  these departments and subsidiaries are linked. They need to depose Baohua Chen on how and why

  he coordinated and led all these departments and entities to develop, manufacture, sell, and recall

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  nitrosamine contaminated valsartan throughout the world, including the United States. The

  deposition of an American employee of one of ZHP’s U.S. subsidiaries is not a substitute for Mr.

  Chen’s deposition.




                           This testimony does not help ZHP on this motion, and the reliance on this

  testimony is puzzling.




         In its brief, ZHP summarily describes Minli Zhang’s deposition but does not explain how

  Mr. Chen’s testimony would be duplicative. (ZHP’s Br. 5).



  Inclusion of this reference in the motion, as well as the references to obscure testimony from other

  witnesses, is mere filler on ZHP’s motion, and proves nothing that would help ZHP to meet its

  burden.

         On this record, ZHP cannot present any reasonable argument to preclude the deposition of

  Baohua Chen. He was involved at every point in the process, and has direct knowledge from all

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  corners of the company that Plaintiffs cannot possibly learn or confirm from other sources. And

  Mr. Chen has to account for key matters he was at the heart of, and confirm what he knew and

  when, including but not limited to the inadequate risk assessments of the TEA and zinc chloride

  processes, the decision to develop the contaminating zinc chloride process, the decision to hide the

  contamination in order to maximize corporate profits, and the grudging disclosure only when

  Novartis forced ZHP to do so.

                                       LEGAL ARGUMENT

                                                   I.

           BAOHUA CHEN’S DEPOSITION SHOULD PROCEED AS ORDERED

         Federal Rule of Civil Procedure 26(c)(1) states that the Court “may, for good cause, issue

  an order to protect a party or person from annoyance, embarrassment, oppression, or undue burden

  or expense, including … forbidding the … discovery.” “Good cause, in turn, requires the movant

  to demonstrate ‘that [the discovery] will work a clearly defined and serious injury to the party

  seeking closure.’” Otsuka Pharm. Co. v. Apotex Corp., 310 F.R.D. 256, 259 (D.N.J. 2015)

  (quoting Pansy v. Borough of Stroudsburg, 23 F.3d 772, 786 (3d Cir.1994)), emphasis added.

  “[T]he burden rests with the party seeking a protective order.” Id. at 260 (citing Cipollone v.

  Ligget Grp., Inc., 785 F.2d 1108, 1121 (3d Cir. 1986)) (denying a motion for a protective order to

  preclude a deposition). When it granted ZHP leave to file this motion for a protective order,

  the Court clearly stated, “It's his [(ZHP’s counsel’s)] motion for protective order, so it's his

  burden, of course.” (12/22/2020 Tr. 48:1-2).

     A. The “Apex Doctrine” Is Overstated by ZHP

         ZHP cites a number of unpublished trial court decisions in an effort to create the impression

  that the deposition of Boahua Chen is somehow presumptively precluded by an “apex doctrine.”

  (ZHP’s Br. 14-16). However, the only published federal appellate decision addressing the

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  “apex doctrine” has rejected the broad sweep argued for by ZHP. In Serrano v. Cintas Corp.,

  the Sixth Circuit “conclude[ed] that the magistrate judge erred as a matter of law in relying on

  ‘apex doctrine’ to grant the protective order.” 699 F.3d 884, 902 (6th Cir. 2012). The court

  explained:

                 [W]hile we sometimes have considered the need for the
                 deposition—i.e., its potential to result in relevant testimony—in
                 reviewing the grant or denial of a protective order, we have not
                 abandoned the requirement that one of the harms listed in Rule
                 26(c)(1)(A) must be specified in order to warrant a protective
                 order. Even in cases where we have considered extensively a
                 corporate officer's knowledge and, thus, capacity to provide
                 information relevant to the case, we have declined “to credit a
                 [corporate officer's] bald assertion that being deposed would
                 present a substantial burden,” and still required the corporate
                 officer to meet Rule 26(c)(1)'s requirements.

  Id. at 901. This all follows from Federal Rule of Civil Procedure 26. Id. There is no presumption

  proven by a witness’s title, and Boahua Chen is not too important to be deposed. ZHP has not

  proven “a clearly defined and serious injury” that will result from this deposition, and that is the

  beginning and end of the inquiry. Otsuka Pharm., 310 F.R.D. at 259 (quoting Pansy, 23 F.3d at

  786), emphasis added.

     B. The Purported “Apex Doctrine” Does Not Apply to Baohua Chen

         As the Sixth Circuit noted, “the ‘apex doctrine’ is built on the false foundation that

  ‘harassment and abuse’ are ‘inherent’ in depositions of high-level corporate officers and therefore

  allow such depositions to be barred absent ‘a showing that the individual possesses relevant

  evidence which is not readily obtainable from other sources.’” Serrano, 699 F.3d at 901. This

  Court has already established that it is, “not that sympathetic to the apex argument,” explaining:

                 [W]e've all been through this in many different cases. If they're
                 deposing a CEO because he may have signed a form contract and he
                 doesn't have any personal knowledge of what happened, but here,
                 we have a situation where plaintiffs are seeking to depose the
                 gentleman in large part because of the information he gains
                 when he was, in my words, in a front-line position.
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  (12/22/2020 Tr. 40:4-5, 44:2-8). In other words, the purpose of the apex doctrine and the doctrine

  itself do not apply when the witness had personal involvement in the matters at issue in the case.

  As already found by this Court, Boahua Chen was personally involved, has unique knowledge,

  and is not shielded from this deposition by any formulation of the apex doctrine.

     C. ZHP Has Not Met Its Burden Under Rule 26

         ZHP has not submitted a declaration from Mr. Chen establishing, with the necessary level

  of specificity, how his deposition would cause “annoyance, embarrassment, oppression, or undue

  burden or expense.” Fed. R. of Civ. Proc. 26(c)(1); see also Serrano, 699 F.3d at 901; Otsuka

  Pharm., 310 F.R.D. at 259 (citing Pansy, 23 F.3d at 786). This is likely because the record

  demonstrating Mr. Chen’s involvement is overwhelming—leaving ZHP to hope for the Court to

  reverse its prior ruling that established Mr. Chen’s direct involvement.

         ZHP cites a total of five cases—all unpublished—in support of its motion under the “apex

  doctrine.” In the first case, United States ex rel. Galmines v. Novartis Pharm. Corp., No. CV 06-

  3213, 2015 WL 4973626, at *1 (E.D. Pa. Aug. 20, 2015), the court acknowledged that the “apex

  doctrine does not represent an exception to the rule that a party seeking to quash a subpoena bears

  the ‘heavy burden’ of demonstrating that the subpoena represents an undue burden.” Id. at 2 (citing

  Frank Brunckhorst Co. v. Ihm, No. MISC. 12–0217, 2012 WL 5250399, at *4 (E.D. Pa. Oct. 23,

  2012)). Relying on an unpublished trial court case from North Carolina, the Court nevertheless

  held that the “apex doctrine does … apply a rebuttable presumption that a high-level official's

  deposition represents a significant burden upon the deponent and that this burden is undue absent

  the two factors set forth in the apex doctrine, which go to the lack of a more convenient, less

  burdensome, and less expensive alternative.” Id. (citing Performance Sales & Mktg. LLC v. Lowe's

  Companies, Inc., No. 5:07–CV–00140–RLV, 2012 WL 4061680, at *3–4 (W.D.N.C. Sept. 14,

  2012), overruled on other grounds, Fourth Estate Public Benefit Corp. v. Wall-Street.com, LLC,
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  ––– U.S. ––––, 139 S. Ct. 881 (2019)). However, here, the Court has already rejected the

  applicability of this analysis due to the witness’s direct involvement, meaning the presumption (if

  any applied) was already overcome, and the only defense left to ZHP is this motion for a protective

  order—with ZHP having the burden.

         Of note, ZHP does not cite a District of New Jersey case adopting this presumption,

  and as recognized by the Sixth Circuit, Rule 26 is the touchstone. Moreover, the facts and

  posture presented in Galmines are night and day from this case. There, the plaintiff offered only

  two documents in support of her need for the deposition of a CEO:

                 In support of his position, Mr. Galmines has filed with the Court a
                 PowerPoint slide that Mr. Gorsky allegedly reviewed. The slide
                 displays the percentage of Elidel sales for off-label uses. Mr.
                 Galmines has also submitted an email from Mr. Gorsky to a business
                 associate in which Mr. Gorsky recommends editing that PowerPoint
                 slide by changing the phrase “off-label sales” to “other sales.”

  This allowed the court to easily distinguish the case from In re Tylenol (Acetaminophen)

  Mktg., Sales Practices & Products Liab. Litig., No. 2:13–MD–02436, 2014 WL 3035791, at *3

  (E.D. Pa. July 1, 2014), “where Judge Stengel denied a motion to quash because ‘documents,

  which have been produced by the defendants during discovery, show very clearly that [the

  high-ranking executive] was actively involved in decision making regarding the marketing

  and product development of Tylenol products.’” Galmines, 2015 WL 4973626, at *2. This

  case is clearly more akin to In re Tylenol in that Plaintiffs have cited and described dozens of

  documents and compelling deposition testimony, in particular from Min Li, establishing Mr.

  Chen’s integral role in the matters at issue here.

         ZHP’s second case is a decision authored by Judge Schneider, Younes v. 7-Eleven, Inc.,

  No. CV 13-3500 (RMB/JS), 2015 WL 12844446, at *2 (D.N.J. Aug. 19, 2015). Judge Schneider

  has previously concluded that any “apex doctrine” is inapplicable to Mr. Chen, as he is intimately

  involved in this case. (12/22/2020 Tr. 40:4-5, 44:2-8). Younes is easily distinguished here, as that
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  decision concerned the plaintiffs’ second motion for the depositions of 7-Eleven’s CEO and former

  executive vice president. Id. at *1-2. In deciding the first motion, Judge Schneider said, “If the

  record is going to [stay] as it is in the motion, you're not going to get these depositions. You

  haven't shown the Court that these witnesses have personal and unique information.” Id. *2. On

  their second motion, “plaintiffs[] …essentially rehashe[d] the same arguments in plaintiffs' first

  motion.” Id. Here, the shoe is on the other foot. Judge Schneider ordered the deposition of Mr.

  Chen, having found him to have direct involvement and information, and ZHP has simply repeated

  the “apex doctrine” arguments that the Court previously denied. Thus, Younes supports denial of

  ZHP’s motion, not granting it. 1

         Ciarrocchi v. Unum Grp.—ZHP’s third case—is even more inapposite, and supports

  Plaintiffs’ position to the extent relevant here. No. CV 08-1704 (JBS/AMD), 2009 WL 10676631,

  at *3 (D.N.J. Aug. 27, 2009). It is worth noting that this case involved a pro se plaintiff’s suit

  “seek[ing] to vacate the [parties’ prior] settlement, reinstate the disability insurance policy, and re-

  establish disability payments.” Id. at *1. Like Younes, the plaintiff previously lost a motion to

  compel the depositions of the defendant’s CEO and COO. Id. at *2. Instead, the court ordered the

  deposition of another employee “that was involved in handling [the p]laintiff's claim.” Id.

  However, the plaintiff never took that deposition and instead filed another motion to depose the

  defendant’s CEO. Id. During a status conference regarding this second motion, the court thought

  that the parties had agreeably resolved this dispute and allowed for the deposition of an employee

  besides the CEO, but the plaintiff ultimately filed a third motion to compel the deposition of the

  CEO and COO. Id. The pro se plaintiff simply argued “that he requires these depositions because




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          In Younes, Judge Schneider noted that “[t]he parties do not dispute the applicable standard
  to apply to decide if high-ranking corporate executives may be deposed,” suggesting that the Court
  would otherwise have considered counter arguments. 2015 WL 12844446, at *2.
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  he seeks to obtain information regarding Defendant's general practices and policies for settling

  claims.” Id. The court held that “[f]ederal courts have permitted the depositions of high level

  executives when conduct and knowledge at the highest corporate levels of the defendant are

  relevant in the case.” Id. at *3 (quoting In re Bridgestone/Firestone, Inc. Tires Prod. Liab. Litig.,

  205 F.R.D. 535, 536 (S.D. Ind. 2002)). However, “[t]he Court finds that Plaintiff fails to

  demonstrate at this time that either [the CEO] or [COO] have unique knowledge of relevant facts

  in this case.” Id. Here, the record shows Mr. Chen has unique knowledge of facts relevant to

  Plaintiffs’ cases. (See supra).

         Fourth, ZHP cites a clearly inapplicable case, George v. Pennsylvania Tpk. Comm'n, No.

  1:18-CV-766, 2020 WL 2745724, at *3 (M.D. Pa. May 27, 2020). That case concerned an ethnic

  discrimination lawsuit where the plaintiff asked to depose the Pennsylvania Turnpike

  Commission’s CEO only after the fact discovery deadline had expired. Id. at *1. The court denied

  this request primarily because “we deem the request to be untimely.” Id. at *3. Importantly, the

  court never mentioned, let alone relied on, a “presumption” against “apex witnesses.”

         ZHP’s final case is Pollock v. Energy Corp. of Am., No. CIV.A. 10-1553, 2015 WL

  757458, at *6 (W.D. Pa. Feb. 23, 2015), aff'd, 665 F. App’x 212 (3d Cir. 2016), which is also

  easily distinguished. Plaintiffs first note that ZHP’s citation to the Third Circuit’s affirmance of

  that decision is misleading. The trial court did deny the plaintiffs’ request to call two of the

  defendant’s executives at trial below. Pollock, 2015 WL 757458, at *6. However, the plaintiffs

  prevailed at trial, and the Third Circuit affirmed that judgment in favor of the plaintiffs. Pollock,

  665 F. App’x at 213-14. The Third Circuit’s decision did not address whether the trial court

  properly precluded the plaintiffs from calling the defendant’s executives as witnesses.

         More substantively, the decision focuses on trial testimony of high-level executives who

  the plaintiffs never even bothered to depose. The trial court did not reference the “presumption”

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  ZHP asks this Court to apply, and the court commented on the fact that the plaintiffs there did not

  attempt to depose the executives at issue. 2015 WL 757458, at *6. Here, Plaintiffs have sought

  and obtained Mr. Chen’s deposition, and the posture here is the defendant attempting to secure a

  protective order to block that already ordered deposition.

     D. The Court Should Not Hold ZHP’s Motion in Abeyance Pending Further Discovery
         The Court has already ruled that Plaintiffs have established their need for Mr. Chen’s

  deposition, and as discussed above at length, the record continues to support that conclusion. (ECF

  704; see supra). In the same order, the Court wrote that “after a sufficient deposition record is

  developed, ZHP is granted leave to file a Motion for Protective Order to quash Mr. Chen’s

  deposition.” (ECF 704). ZHP waited as long as possible to file the motion, and cannot reasonably

  argue the record is insufficient.

                                           CONCLUSION

         For the foregoing reasons, ZHP has not met its burden of showing that Baohua Chen’s

  deposition would work a clearly defined and serious injury. The Court should therefore deny the

  motion for a protective order.

   Dated: June 7, 2021                                         Respectfully Submitted,

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                                    CERTIFICATE OF SERVICE

         I hereby certify that on June 7, 2021, a true and correct copy of the foregoing was filed and

  served upon all counsel via operation of the CM/ECF system for the United States District Court

  for the District of New Jersey.

                                                           /s/ Adam M. Slater
                                                           Adam M. Slater




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